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UNTTED STATES OF AMERICA

V. No. 05-20029-02-Ml

KENDRICK WATSON

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRlAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain private counsel
to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18 U.S.C.
§3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while attempting to
obtain private counsel. It is therefore ORDERED that the time period of July 13, 2005
through, July 26, 2005 be excluded from the time limits imposed by the Speedy Trial Act for
trial of this case while the defendant is attempting to obtain private counsel.

ARRAIGNMENT reset to Wednesday, July 27 , 2005, at 10:00 a.m. before Magistrate
Judge Vescovo .

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rhis /3 day of ,2005.

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UNITED STATES MAGISTRATE IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
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Honorable Bernice Donald
US DISTRICT COURT

